                                    Case 1:18-cv-10752-ALC Document 23 Filed 01/31/19 Page 1 of 1
                              FROSS ZELNICK LEHRMAN & ZISSU, P.C.
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                           January 31, 2019
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Andrew N. Fredbeck
Craig S. Mende
                           Honorable Andrew L. Carter, Jr.
Allison S. Ricketts
John P. Margiotta
                           United States District Judge
Lydia T. Gobena
                           Thurgood Marshall United States Courthouse
Carlos Cucurella           40 Foley Square
James D. Weinberger        New York, NY 10007
David Donahue
Nancy E. Sabarra
Charles T. J. Weigelllll   Re:             JRSK, Inc. v. Prized Ventures Ltd. and Monos Travel Ltd., 18 Civ. 10752
Laura PopJ}-Rosenberg
Cara A. Boyle
                                           (Our Ref.: JRSK 1812907)
Karen Lim
Jason Jones                Dear Judge Carter:
Leo Kittay
Amanda B. Agati            We are counsel to Plaintiff, JRSK, Inc. in this civil action. We are writing to inform you
Ashford Tucker             that the parties have reached a settlement in principle. The parties therefore request that
Senior Counsel             the Court enter a "Thirty Day Order," giving the parties thirty days to negotiate and sign
Janet L. Hoffman           a settlement agreement.
Roger L. Zissu
Stephen Bigger             Opposing counsel has reviewed and consented to this letter.
Senior Litigation
Counsel                    We appreciate the Court's attention to this matter.
Richard Z. Lehv

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Nancy C. DiConza           Encl.
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